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 UNITED STATES DISTRICT COURT                                            .'l)OC#~----:+--1---,---+-.......-
 SOUTHERN DISTRICT OF NEW YORK                                            l>ATE FILF.O: _....,_-+...._...,___
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 UNITED STATES OF AMERICA,                                           OPINION AND ORDER
                                                                     DENYING DEFENDANT'S
                                                                     MOTION TO SUPPRESS AND
             -against-                                               FORA BILL OF
                                                                     PARTICULARS
 ALI KOURANI,
                                                                     17 Cr. 417 (AKH)
                                         Defendant.

 --------------------------------------------------------------- X


ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On June 28, 2017, defendant Ali Kourani ("Defendant" or "Kourani") was

indicted of a number of terrorism-related offenses. See 18 U.S.C. 2339B. The core allegation

linking all of the charges is that Kourani was a member of, and offered material support to,

Hizballah, a designated foreign terrorist organization. The indictment is largely based on a

series of non-custodial interviews between Kourani and two FBI agents, Joseph Costello and

Keri Shannon. Kourani's then-lawyer, Mark Denbeaux, was present at each of the meetings.

Through a series of motions filed on January 1, 2018, Kourani claims that the agents offered him

immunity or otherwise indicated that his statements would not be used against him, thereby

rendering his statements involuntary. The government claims that no such offer of immunity

was given, and any references to "confidentiality". before and during the interviews referred only

to keeping the fact of Kourani' s cooperation from reaching members of Hizballah, in Lebanon,

where members of his extended family resided, and in the United States, where he lived.

Kourani had told the agents that Hizballah already suspected that he had been cooperating, had

engaged in various acts of intimidation against his family, and threatened to do more.
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                  The Court held an evidentiary hearing on March 26-28, 2018. For the reasons

stated on the record and supplemented herein, I find that no such offer of immunity or non-

prosecution was made, and that the totality of the circumstances indicate that Kourani's

statements were voluntary. The motion is denied.

                                                   Background

                  The defendant, Ali Kourani, was born in Lebanon in 1984. He came to the United

States in 2003, obtained a Bachelor of Science in biomedical engineering in 2009, and a Masters

of Business Administration in 2013. He became a naturalized citizen of the United States in

2009.

                  Between 2012 and 2016, FBI agents questioned Kourani a number of times on

suspicion of being affiliated with Hizballah, the foreign terrorist organization. After their first

meeting, Kourani testified that agents provided him with a burner phone in the hopes of

convincing him to cooperate. See Trans. at 235:11-12. Kourani met with agents in New York

City and Chicago numerous times during this period, but the agents came to believe that Kourani

was not being completely forthcoming, and communication between the parties ceased by

September 2016.

                  In their testimony, agents Costello and Shannon described two meetings with

Kourani that are particularly relevant to the disposition of defendant's motion. First, in August

2016, Agent Joseph Costello met with Kourani at the United States embassy in Beirut, Lebanon. 1




1
  The parties dispute how this meeting came about. Agent Costello testified that he went to Beirut after Kourani
entered a United States embassy and asked to speak with someone from the U.S. government. See Trans. at 11:3--6.
Kourani testified that he went to the U.S. embassy to seek aid after a conflict with his extended family, and when he
arived consular officials confiscated his passport and asked him to return the following week to collect it. Kourani
claims that when he returned, he was questioned by Agent Costello and two other agents about his involvement in
Hizballah. Eventually, Kourani claims, his passport was returned and he was allowed to fly back to the U.S. See
Trans. at 246:11-249:18.

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Kourani told Agent Costello that he had been involved in a child custody dispute the previous

month that escalated into a dangerous altercation between himself and members of his wife's

family, many of whom were affiliated with Hizballah. As a result of the altercation and ensuing

attack, his wife and children fled to Canada. But Kourani denied having any personal

involvement with Hizballah, and Agent Costello told Kourani that unless he was willing to

cooperate fully, the FBI would not assist him with his family dispute. The parties reached an

impasse, and the interview was terminated. Second, upon his return to the United States in

September 2016, Agent Shannon met with Kourani at Newark International Airport and

questioned him about his involvement in Hizballah. Agent Shannon told Kourani that this was

his last chance to cooperate, but Kourani continued to deny having any affiliation with Hizballah.

Kourani testified that he cut off all communication with the FBI at that time.

                 When he returned to the United States in the fall of 2016, Kourani's family

situation began to deteriorate. He was fearful that he could not remove his children from

Canada, where they lived with their mother, and would not receive visitation rights. He was also

fearful that his family in Lebanon was vulnerable, for they had been attacked by members of

Hizballah at least once. As a result of his worsening family situation, and believing that the FBI

alone could help him, Kourani decided to arrange a meeting with the FBI. To facilitate his

cooperation, Kourani was introduced through a mutual acquaintance to Mark Denbeaux, an

experienced criminal defense lawyer and law professor at Seton Hall Law School, who agreed to

represent him. Kourani was attracted to Denbeaux because he had experience working with the

FBI,2 even though he had no experience in immigration or family law, the subjects touching



2
  Denbeaux had represented detainees held at Guantanamo Bay Detention Camp. Previously he had represented
black panthers. Kourani hoped that Denbeaux's experience in representing controversial clients in negotiations with
the FBI could be utilized to resolve his immigration and child custody disputes.

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upon his needs. Kourani believed that, using Denbeaux's skillset with the FBI, he could trade

his knowledge of Hizballah agents and plans for effective assistance in moving his family from

Lebanon to the United States, and improve his chances of custody, or at least visitation,

regarding his children in Canada.

                 Denbeaux contacted Agent Shannon on February 28, 2017, identified Kourani as

his client, and told the agents that his client "wish[ed] to speak with the FBI." Declaration of

Mark Denbeaux, ECF 28, at~ 2. The parties apparently had difficulty setting a date for the

interview, and the next substantive discussion came during a March 22, 2017 call between

Denbeaux and Agents Costello and Shannon. On the call, Denbeaux explained to the agents that

Kourani "was very nervous about his and his family's physical safety should anyone find out that

he was talking to the FBI." Id. In response, the agents told Denbeaux that any meetings between

Kourani and the FBI would "remain confidential." Id. The meaning of the term "confidential"

has since been disputed, but the agents, Denbeaux, and Kourani all testified that the promise of

confidentiality related solely to keeping Kourani's cooperation from leaking to the Lebanese

community, both in the U.S. and abroad. More generalized confidentiality, or immunity, was

never discussed.

                 After the initial conversation between Denbeaux and the agents on March 22,

2017, Kourani participated in five non-custodial interviews with the FBI on March 23, April 3,

April 5, April 14, and April 26. All meetings took place at Seton Hall Law School where, it was

thought, there was less chance of arousing the suspicion of Hizballah. 3 It is undisputed that

before, during, and after each of these meetings, the agents explained to Kourani that they were

not authorized to make any promises or guarantees about potential benefits for Kourani's


3
 Agents Costello and Shannon also had a number of phone conversations with Denbeaux during this time, largely to
coordinate future in-person meetings.

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cooperation. This understanding was confirmed by Denbeaux through a text message, which

stated "I understand that you can't promise or guarantee." Gov't Ex. 301. 4 Consistent with this

representation, the agents testified that they never promised Kourani any of the benefits he

sought. For instance, while the agents told Kourani that they would use their best efforts to

secure certain immigration benefits for his family, including bringing his children from Canada

to the United States by the end of the summer of 2017, the agents and Denbeaux credibly

testified that the ~gents told Kourani that they could not make any specific promises about the

success of any of their efforts.

                  Much of the dispute in this case centers on a memorandum drafted by Denbeaux

and handed to Agents Costello and Shannon immediately before the second interview began on

April 3, 2017. The document stated in relevant part: "[Kourani] is not seeking any kind of

immunity or protection, because as it has already been agreed, he has committed no crime and

faces no prosecution." Gov't Ex. 703. After receiving this document from Denbeaux, agents

Costello and Shannon stepped out into the hall to confer. They reviewed the documented briefly,

determined that it did not accurately capture the understanding of the parties, returned the

document to Denbeaux without comment, and proceeded to interview Kourani.

                  As the meetings went on, the agents again became convinced that Kourani was

holding back vital information. The meetings were ended, and Kourani was arrested on June 1,

2017, charged with providing material support to a foreign terrorist organization. Kourani's

statements were important to the government's case. Kourani now makes this motion,

challenging the admissibility of his inculpatory statements.



4
  While this affirmation related primarily to immigration benefits, the larger implication-that the agents could not
make any specific promises or guarantees-was reiterated dozens of times and was intended to apply broadly to any
benefit that Kourani might seek.
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                                            Discussion

       A.      Specific Enforcement

               Kourani first attempts to specifically enforce the alleged offer of immunity as a

matter of contract law. Even if such an offer of immunity had been made-and I find that it was

not-Kourani cannot specifically enforce it.

               "It is well settled that the government may in its discretion make agreements in

which it exchanges various levels of immunity from prosecution for the defendant's

cooperation." United States v. Aleman, 286 F.3d 86, 89 (2d Cir. 2002). Courts interpret such

agreements "according to the principles of contract law," and "construe [them] strictly against

the government in recognition of its superior bargaining power." Id. at 90. It is also clear that

immunity agreements may be made orally, see id. at 89, but the defendant bears the burden of

proving the existence of such an agreement, see United States v. Rosario, 237 F. Supp. 2d 242,

245 (E.D.N.Y. 2002) (collecting cases).

               To specifically enforce a promise made by the government, a defendant must

show (1) "that the promisor had actual authority to make the particular promise," and (2) "that he

(the defendant) detrimentally relied on it." United States v. Ruda}, No. 04 CR. 1110 (DLC),

2005 WL 2508404, at *2 (S.D.N.Y. Oct. 11, 2005) (internal quotation marks omitted) (quoting

United States v. Flemmi, 225 F.3d 78, 84 (1st Cir. 2000)). "If either part of this showing fails,

the promise is unenforceable." Id. (internal quotation marks omitted) (quoting Flemmi, 225 F.3d

at 84). As the Second Circuit has explained in a related context, "it is axiomatic that the United

States is not bound by the unauthorized acts of its agents," and "[w]hatever the form in which the

Government functions, anyone entering into an arrangement with the Government takes the risk


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of having accurately ascertained that he who purports to act for the Government stays within the

bounds of his authority." See Doe v. Civiletti, 635 F.2d 88, 96 (2d Cir. 1980).

               Applied here, it is undisputed that Agents Costello and Shannon lacked actual

authority to make an offer of immunity, and they made that clear to Kourani and Denbeaux.

Such offers can be conferred only by the Department of Justice, and Denbeaux testified that he

never met with anyone other than Agents Costello and Shannon, nor did he understand that the

agents had secured authorization to offer Kourani immunity from the U.S. Attorney's Office at

any time during the series of interviews. Because the agents lacked authority to make an offer of

immunity, Kourani cannot specifically enforce it.

       B.      Voluntariness

               Kourani's primary argument is that the conduct of the FBI agents in this case

rendered his statements involuntary under the Due Process Clause of the Fifth Amendment. For

the reasons that follow, I find that his statements were voluntary, and the defendant's motion to

suppress is denied.

               "When, as here, a defendant seeks to suppress non-custodial statements made to

law enforcement authorities, the single issue before the court is whether the statements were

voluntary, i.e., the 'product of an essentially free and unconstrained choice by [their] maker,' or

coerced by police activity in violation of constitutional rights not to incriminate oneself and due

process." United States v. Haak, 884 F.3d 400,409 (2d Cir. 2018) (internal citations omitted)

(quoting Schneckloth v. Bustamante, 412 U.S. 218,225 (1973)).

               "While 'coercive police activity' is a 'necessary predicate' to holding a

confession constitutionally involuntary, a finding that police conduct is 'false, misleading, or

intended to trick and cajole the defendant into confessing' does not necessarily render the


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confession involuntary." Id. (first quoting Colorado v. Conelly, 479 U.S. 157, 167 (1986), and

then quoting United States v. Anderson, 929 F.2d 96, 99 (2d Cir. 1991)). The core question is

whether, in "the totality of the surrounding circumstances ... the defendant's will was overborne

by the" agents' conduct. Id. In reviewing the surrounding circumstances, I must consider "(1)

the accused's characteristics, (2) the conditions of the interrogation, and (3) the conduct of the

police." Parsad v. Greiner, 337 F.3d 175, 183 (2d Cir. 2003). To prevail on a claim of "trickery

and deception," as Kourani has raised here, it must be shown "that the [FBI] agents affirmatively

misled [him] as to the true nature of [their] investigation." United States v. Mitchell, 966 F.2d

92, 100 (2d Cir. 1992) (internal quotation marks omitted) (quoting United States v. Okwumabua,

828 F.2d 950, 953 (2d Cir. 1987)).

               The Second Circuit's recent decision on this issue in United States v. Haak is

instructive. In Haak, the defendant was charged with possession with intent to distribute a

controlled substance resulting in death, in violation of federal narcotics laws. Haak, 884 F.3d at

402-03. The charges were based largely on the defendant's statements in a non-custodial, video-

recorded interview at the police station. Id. During the interview, the officers "were dressed in

casual street clothes with no weapons visible," and the defendant "was not handcuffed or

otherwise restrained." Id. at 403. After the defendant admitted that he had sold the victim the

drugs that killed him, the detective pushed him to reveal his drug supplier, telling him: "I'm not

looking to mess with you, I'm not looking to come after you, but you gotta get on board or you,

you shut your mouth and then the weight of the federal government is gonna come down on

you." Id. at 405. The officer went on, warning the defendant, "Either you can get on board, put

the team jersey on here, play for this team, or you can be on the losing team." Id. The district

court found that the detective's comments created an offer of immunity, rendering the



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defendant's statements involuntary and therefore inadmissible. Id. at 407-08. But the Second

Circuit reversed, holding that "neither the words spoken by [the detective] nor the context in

which he spoke them communicated a clear and unmistakable promise of immunity in return for

cooperation." Id. at 413 (emphasis added). Without the alleged offer of immunity, the Court

held that the totality of the circumstances did not warrant suppression. Id. at 414-16.

        1.     Characteristics of the Accused

               Applying the framework outlined above, I must first consider the characteristics

of the accused. Ali Kourani is 33 years old and has an advanced educational background, having

obtained a Bachelor of Science in biomedical engineering in 2009 and a Masters of Business

Administration in 2013. He is intelligent and well educated, which cuts against a finding that his

statements were involuntary. See United States v. Ruggles, 70 F.3d 262, 265 (2d Cir. 1995)

(holding that statements voluntary where, "there [was] nothing in the record to indicate that

[defendant] lacks maturity, education or intelligence" and considering the defendant's

"familiarity with police questioning").

               Kourani understood the situation he faced and had some level of familiarity with

the FBI. He had previously been offered (and rejected) a written confidentiality agreement in

2016, indicating that he was at least aware that he could obtain a formal agreement from the

agents. He behaved strategically, seeking a meeting with FBI agents when his situation made

doing so in his best interest, and he sought out Denbeaux knowing that he had no expertise in

immigration or family law and could help him only insofar that he wanted the FBI's help to

resolve his immigration problems. There is nothing in the record to indicate that Kourani was

particularly susceptible to coercion.




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       2.      Conditions of the Interviews

               Second, in assessing the voluntariness of Kourani's statements I must consider the

conditions of the interviews. This factor also cuts against defendant's motion. It is undisputed

that Kourani was not in custody during the interviews, which took place in a conference room at

Seton Hall Law School, rather than at an FBI facility. Kourani was assisted by a smart,

experienced counsel, with a deep background of representing controversial defendants and

negotiating with the FBI and prosecutors. Kourani was unrestrained throughout the interviews,

see Parsadv. Greiner, 337 F.3d at 184; Green v. Scully, 850 F.2d 894, 902-03 (2d Cir. 1988),

and the agents were dressed in business attire and never displayed their firearms, see Haak, 884

F.3d at 415. And it was Kourani who reached out to the FBI to set up the interviews, which took

place over the course of several weeks, giving his attorney ample time to withdraw Kourani from

the process. The conditions of the interview could hardly be deemed coercive, and I find that

this factor also weighs against a finding of involuntariness.

       3.      Conduct of the Officers

               Finally, I must consider the conduct of the law enforcement officers. Kourani

claims that the FBI agents offered him immunity or otherwise indicated, either to him or to his

lawyer, that his statements would not be used against him. Based on the testimony given at the

evidentiary hearing and the sworn affidavits submitted by Kourani and Denbeaux, I find that no

such offer of immunity or non-prosecution was made, and Kourani's statements were voluntary.

               Kourani' s motion is based on two related arguments, neither of which has merit.

The first is an attempt to transform the agent's promise of "confidentiality" into an offer of

immunity or non-prosecution. As a legal matter, at least one court in this district has held that

generalized promises of confidentiality are of a different character than offers of immunity. See



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Ruda}, 2005 WL 2508404, at *3 (noting that the First Circuit had observed in Flemmi that "[a]

promise of confidentiality and a promise of use immunity are separate and distinct assurances"

(internal quotation marks omitted) (quoting Flemmi, 225 F.3d at 88)). The Ninth and Eleventh

Circuits, however, have indicated in passing that generalized promises of confidentiality can

render a defendant's statements involuntary. See Valenzuela v. United States, 286 F.3d 1223,

1230 (11th Cir. 2002) (stating that the Court would not "countenance the Government's

conduct"); United States v. Brooklier, 685 F.2d 1208, 1217 (9th Cir. 1982) (stating in dicta that

"[s]tatements made in confidence are not immune absent an unconditional promise of

confidentiality"). The Second Circuit has not written on the issue.

                  I need not resolve this dispute. As I have already explained, the only plausible

interpretation of the agents' promise of "confidentiality" is that it related only to keeping

Kourani's cooperation from reaching members of the Lebanese community, in the U.S. and

abroad. It was not intended as an offer of immunity or non-prosecution, nor was it understood as

such by Kourani or by his lawyer. 5 Kourani's argument that the agent's promise of

confidentiality renders his statements involuntary fails.

                  Although Kourani attempts to weave the alleged promise of confidentiality

throughout his claim, his motion ultimately relies on a document drafted by Denbeaux and




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  The testimony of the agents, Denbeaux, and Kourani confirm that "confidentiality" in this context had a more
restricted meaning than Kourani now advances. Agents Costello and Shannon testified credibly that this promise
related only to confidentiality from the Lebanese community. See, e.g., Trans. at 77: 16-19, 88: 16-89:2. Denbeaux
confirmed that Kourani requested confidentiality because he was concerned for his family's safety "[i]fhe
cooperated with the FBI." Id. at 218:7-13. And Kourani testified that he wanted "strict confidentiality" because he
did not want members of the Muslim community to see him with FBI agents. Id. at 257: 15-22. Kourani also
testified that confidentiality was important in ensuring his safety because he had "already seen what those militias
are capable of." Id. at 277:3-9. Moreover, during the series of interviews that followed, the agents made clear that
in order to seek the immigration benefits Kourani demanded in exchange for his cooperation, they would have to
reveal the fact of his cooperation with other government entities. In sum, it is clear that all parties understood the
term "confidentiality" to refer only to keeping the fact of his cooperation confidential from the Lebanese
community.

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provided to the agents at the start of their second meeting on April 3, 2017. That document,

identified here as Government Exhibit 703, 6 purports to be Denbeaux's "status report," outlining

the progress of the first meeting and identifying areas of concern moving forward. As explained

below, Kourani relies heavily on paragraph 2 of the memorandum, which states in substance that

Kourani was not seeking immunity because it had already been agreed amongst the parties that

he was not the subject of the FBI's investigation.

                 So what to make ofDenbeaux's memorandum? Much of it confirms the

testimony of the agents, Denbeaux, and Kourani himself. Paragraphs 3 and 4 of the document

explain that Kourani was "cooperating with his country because" the agents "believe that he

possesses important and valuable information and he is willing to share." Gov't Ex. 703, at ,-r,-r

3-4. But to do so, Kourani wanted protection for his family-he wanted assistance moving his

father and sister from Lebanon to the United States, and he wanted to obtain custody of his

children in the United States. Id. at ,-r 4.

                The memorandum also outlines "[t]he dilemma," as Denbeaux calls it. Id. at ,-r 5.

Denbeaux writes that "the government wants his information before making any commitment

and he wants the protection of a commitment with someone in authority that his family interests

will be protected before he provides all his information." Id. Meaning, in essence, that Kourani

was holding back vital pieces of information in order to secure the benefits he sought. Denbeaux

goes on to say that the "government wants him to break down various 'walls' with important

information," and that Kourani "is willing to do so." Id. at ,i 5(b). But, writes Denbeaux,

Kourani is frustrated that he is similarly "facing 'walls' when talking to" the agents that "need to

be broken down as well." Id. at ,-r 5(c). Specifically, Denbeaux writes that Kourani is frustrated


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 Denbeaux's memorandum was introduced twice during the evidentiary hearing as Gov't Ex. 402 and 703. For
consistency, I refer to the document as Exhibit 703.
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that those interviewing him "require approval from higher ups," and that the parties had a

divergent perspective of the power of the FBI. Id. at ,r 6-7. 7 Finally, Denbeaux goes on to say

that, "If it is true that our agency [cannot] help with important considerations because of lack of

power or lack of will[,] the motivation to continue talking fades." Id. at ,rs. These paragraphs

of Denbeaux's memorandum largely confirm the testimony adduced at the evidentiary hearing.

Denbeaux was trying to work around the proposition that Kourani was holding back vital

information, waiting to exchange it for a firmer commitment that his family could immigrate to

the United States and he could establish a relationship with his children. But he wanted the

government to commit itself before he committed himself, and when these issues were not

resolved, the meetings broke down and Kourani's arrest followed.

                 Kourani's motion to suppress is largely based on the first two paragraphs of

Denbeaux's memorandum. The first states that "[t]his is not a plea negotiations [sic] nor is it a

proffer of any sort." Id. at ,r 1. Based on his testimony, it is clear that Denbeaux knew how a

proffer session worked, and he did not believe he was seeking immunity from the U.S.

Attorney's office. See Trans. at 212:22-214:10. In paragraph 2, on which Kourani relies most

heavily, Denbeaux writes that Kourani "is not seeking any kind of immunity or protection,

because as it has already been agreed, he has committed no crime and faces no prosecution."

Gov't Ex. 703, at ,r 2. Denbeaux testified that this statement was based on a "premise," laid out

at the beginning of Kourani's cooperation, that "nothing [Kourani] said [would] be used in any

way against him because he wasn't a target and there was no criminal risk at stake." Trans. at

188. As explained above, Denbeaux handed this memorandum to the agents at the beginning of

the second meeting. The agents reviewed the document outside of the interview room, and


7 According to Denbeaux's memorandum, Kourani believed that "the agency [had] a great deal of power," while

"the agency suggest[ed] that it [had] very little power." Id. at~ 7.
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despite believing that it did not accurately characterize the parties' understanding, they decided

to return the document without comment. Kourani argues that the Court should imply from this

document and the agent's silence that he was effectively offered immunity, making any

subsequent statements he made involuntary.

               I find it implausible that paragraph 2 of Den beaux's memorandum was an

accurate representation of the parties' understanding, and I decline to read it as a conferral of

immunity. In paragraph 2, Denbeaux writes that Kourani "is not seeking any kind of immunity

or protection." Gov't Ex. 703, at ,r 2. This is a telling proposition. Kourani was not seeking any

kind of immunity because he knew he could not get it. The agents had made it clear that specific

benefits or promises were off the table until Kourani cooperated fully. Denbeaux next writes that

Kourani was not seeking immunity "because as it has already been agreed, he has committed no

crime and faces no prosecution." Id. But how ·could Denbeaux know this? Denbeaux admitted

during his testimony that the agents never told him or his client that Kourani was not the target of

the FBI's investigation. I find that this portion of the memorandum was an assertion by

Denbeaux intended to "boot-strap" his effort to obtain some level of protection for Kourani in

relation to his desperate efforts somehow to bring his endangered family to the United States.

He knew that he had to reveal inculpatory information to the FBI, for the FBI, he believed,

presented the only viable way to help his family. Denbeaux testified that he knew that Kourani

was a member of Hizballah, a terrorist organization, before the meetings began. And in the

March 23 meeting, the first of five, Kourani admitted to being a member of Hizballah and to

receiving military training by the terrorist wing of Hizballah in Lebanon. To then state that "it

has already been agreed ... that he has committed no crime and faces no prosecution" reflects

not a promise, but a skilled lawyer's effort to color the event. Id.



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                 Agents Costello and Shannon made it clear 'throughout the interviews that they

could not promise to meet any of Kourani' s demands. 8 The agents reiterated numerous times

that they could not make any specific promises or guarantees because they would have to obtain

the approval of their superiors and the assistance of other administrative agencies-namely the

immigration authorities-to meet Kourani' s demands. And Denbeaux acknowledged as much in

writing via text message. See Gov't Ex. 301 (stating "I understand that you can't promise or

guarantee"). The agents never offered immunity, and both Denbeaux and Kourani knew that

they lacked the authority to offer immunity. These facts are undisputed, and they undermine

Kourani's claim that he could have reasonably believed he was offered immunity or non-

prosecution.

                 Even if the Court were to take Denbeaux's memorandum on its face, the

document and the conduct of the agents is a far cry from the "clear and unmistakable promise of

immunity in return for cooperation" required by the Second Circuit. Haak, 884 F.3d at 413. The

memorandum explicitly states that Kourani was "not seeking any kind of immunity or

protection." Gov't Ex. 703, at~ 2. The crux ofKourani's motion hinges on the notion that he

was not seeking immunity because it had already been agreed that Kourani was not the subject of

the FBI's investigation. But neither Denbeaux nor Kourani could identify any specific

statements made by the agents that could reasonably have been understood as such an agreement.

Neither Denbeaux's memorandum, nor the agent's silence after reading it, reflects a clear and

unmistakable offer of immunity attributable to law enforcement officers.

                 I find that the totality of the circumstances indicate that Kourani's non-custodial

statements were voluntarily made. As the Second Circuit held in Haak, "[i]n the absence of a


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 Kourani made a number of demands during the interviews, including immigration benefits for his father and sister,
assistance with a child custody dispute, and help finding a high-paying job.
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false promise of immunity, there is no ... support in the totality of circumstances for [a]

suppression order." Haak, 884 F.3d at 414. The same is true here. Kourani, a well-educated

and sophisticated actor, initiated the meetings with the FBI, and the agents' conduct does not rise

to such a level that the defendant's will was overborne, see Anderson, 929 F.2d at 99, nor did the

agents "communicate[] a clear and unmistakable promise of immunity in return for cooperation."

Haak, 884 F.3d at 413. The motion to suppress is denied.

        C.      Discovery Disputes

               Kourani also seeks a bill of particulars from the government under Federal Rule

of Criminal Procedure 7(f). Under Rule 7(f), a district court may require the government to file a

bill of particulars when it is necessary to explain the nature of the charges against the defendant,

to allow him to prepare for trial, and to prevent unfair surprise. See Bortnovsky, 820 F.2d 572,

574 (2d Cir. 1987). The decision to grant a request for a bill of particulars is within my

discretion. Id. Generally, no bill of particulars is required where the information sought by the

defendant is provided in the indictment or in some other acceptable form, and it is well-settled

that a bill of particulars "is not a general investigative tool, a discovery device or a means to

compel the government to disclose evidence or witnesses to be offered prior to trial." United

States v. Gibson, 175 F. Supp. 2d 532, 537 (S.D.N.Y. 2001).

               The government has already provided substantial pretrial disclosure, including a

detailed 21-page complaint, judicial applications for search warrants, and other narrative

descriptions of evidence not set forth in the complaint. See Declaration of Emil Bove, ECF 31,

Exs. D, F, G. The government has also produced 30 reports prepared by FBI agents relating to

the investigation. This is sufficient. Because the "[a]cquisition of evidentiary detail is not the




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function of the bill of particulars," United States Torres, 901 F.2d 205,234 (2d Cir. 1990),

defendant's motion is denied.

               Kourani also moved the Court to require the Government to reveal the identity of

any informants in the case. As I stated on the record, this issue will be addressed at the Final

Pretrial Conference.



                                            Conclusion

               For the reasons stated on the record and supplemented herein, defendant's motion

to suppress his statements is denied. The clerk is instructed to terminate the motions (ECF 19,

20, 22, 25).

               SO ORDERED.

Dated:         April 2l,, 2018
               New York, New York
                                                      United States District Judge




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